         Federal Pretrial Risk Assessment
                                 Scoring Guide

                         Office of Probation and Pretrial Services




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group and the officers, supervisors, and chiefs that reviewed the risk assessment instrument and
provided invaluable suggestions for improving the current version of the instrument.




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                                  INTRODUCTION
The Federal Pretrial Risk Assessment (PTRA) was developed by OPPS staff using data
collected through the PACTS system and initially analyzed as part of a larger project. The
PTRA is an objective, quantifiable instrument that provides a consistent and valid method of
predicting risk of failure-to-appear (FTA), new criminal arrest (NCA), and technical
violations (TV) leading to revocation while on pretrial release.
The instrument is comprised of 11 scored items that are divided into two domains or
categories: criminal history and other. The criminal history items are static and will not
likely change during the pretrial period. The “other” items are changeable and might show
some movement based on pretrial supervision and services.
Scoring for the items on the PTRA is a fairly straightforward process. The scored items are
given a number of points (either 0, 1, or 2). The points from the items are then added up
to give an overall score. When administered correctly, the PTRA provides a score that
allows for classification into a risk category. Those risk categories are then associated with
rates of FTA, NCA, and TVs.
This scoring guide is designed in a user-friendly format and provides the purpose behind
each of the scoring items, potential prompters and sample questions, and scoring
rules/issues.
The PTRA is configured as follows:


Item #’s       Domain                                       Scored Items
1.1-1.6        Criminal History                                   6
2.1-2.5        Other                                              5




                                   TOTAL RISK SCORE

The total risk score is determined by adding up the points for each of the scored items. This
score ranges from 0 to 14. The guidelines established based on initial analyses are as
follows: 0-4—Cateogry I, 5-6 Category II, 7-8 Category III, 9-10 Category IV, and 11+
Category V.


                                                                                           2
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                               INTRODUCTION
The chart below displays the failure rates (FTA/NCA and FTA/NCA/TV) for each category of
risk. As can be seen with each increase in risk category the probability of failure also
increases. These failure rates were generated using data from the pretrial supervision
period.




  60



  40                                                                             35
                                                                 29

                                                 19                         20
  20                                                        15
                               10           10
                           6
            2   3
   0
          Category I     Category II      Category III    Category IV     Category V
                                FTA/NCA          FTA/NCA/TV




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   Criminal History
       Domain




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      #1.1                       Domain:                   Criminal History



Item #1.1: Number of Felony Convictions                                                                    Rate and
                                                                                                            score


Purpose of Item: Criminal history is a long-established predictor of future behavior. The versatility,
stability & frequency of the criminal patterns are key factors in assessing the risk for recidivism. A more
extensive history means a greater likelihood of future criminal behavior. Gathering information regarding how
the criminal behavior interrelates with other risk factors will assist in determining interventions needed.



            Sample Questions                                          Interviewing Strategies
This item can be scored from official records and should        Some self-reported convictions might not show up on a
at least be verified by official records.                       record check. Be sure to gather information on these
                                                                items and attempt to verify this information for scoring
How many times have you been arrested for a felony
                                                                purposes.
offense?
How many times have you been convicted of a felony?




Scoring Rules/Issues:
1. This information is based on the number of felony convictions.

2. Multiple counts of a conviction, resulting from one arrest date, should be counted as one conviction.

3. Be sure to accurately record the number of convictions and then code that number properly for scoring.

4. No prior felony convictions is given 0 points, 1 to 4 prior felony convictions is given 1 point, and five or
   more felony convictions is given 2 points.

5. Do not count juvenile arrests/convictions in this section.




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#1.2                   Domain:                      Criminal History


Item #1.2: Prior FTAs                                                                                  Rate and
                                                                                                        score


Purpose of Item: One of the best predictors of future behavior is past behavior. The number of prior
FTAs allows for some assessment as to how likely this behavior is to occur in the future.



            Sample Questions                                         Interviewing Strategies
This item can be scored from official records. Response        Ask the defendant about court proceedings for criminal
from defendants should be verified by official records.        cases.
How many times have you been arrested?                         Determine if any criminal proceedings have been
                                                               missed by the defendant.
How many times have you had to appear in court?
                                                               Attempt to verify self-reported FTAs.
Have you ever missed any of those court proceedings?
Why?
Where charges filed?


Scoring Rules/Issues:
1. Count and code the number of times the defendant has failed to appear for a criminal proceeding.

2. Do not include FTAs for traffic summons, only count FTAs for misdemeanor and felony charges.

3. No prior FTAs is given zero (0) points, 1 prior FTA is given one (1) point, and 2 or more prior FTAs is given
   two (2) points. FTA scoring does not require a conviction.




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#1.3                   Domain:                         Criminal History


Item #1.3:             Pending Felonies and Misdemeanors
                                                                                                                Rate and
                                                                                                                 score



Purpose of Item: Pending charges might increase a defendants flight risk and/or be indicative of a
person that has difficulties while under criminal justice system supervision.




            Sample Questions                                                  Interviewing Strategies
Do you have any criminal cases besides this one that
                                                                       Make sure to gather information on non-federal charges
are not closed?
                                                                       as well as pending federal charges. This should not
How many are for felony charges?                                       include the instant offense.
How many are for misdemeanor charges?
What were you charged with?
Are you on any type of supervision for those cases?




Scoring Rules/Issues:
1.   No pending cases is given zero (0) points, one or more pending cases is given one (1) point.

2.   A probation violation is not be counted as a pending matter.

3.   When the current underlying federal charge, is the same as the state/local offense, do not count the state/local offense
     as a pending matter.

4.   If a defendant is convicted it is not considered a pending matter.

5.   For traffic violations, only count those at a misdemeanor or higher offense level.




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#1.4                   Domain:                        Criminal History


Item #1.4: Current offense type                                                                        Rate and
                                                                                                        score


Purpose of Item: The type of offense was found to have a statistically significant relationship with
outcomes of interest during the pretrial services stage.




             Sample Questions                                            Interviewing Strategies
This information should be taken directly from official         N/A
records.




Scoring Rules/Issues:
1. If the most serious charge is for a drug offense, firearms offense, or immigration charge assess one (1)
   point.

2. Theft/fraud, violent, and other types of offenses are assessed zero (0) points.

3. This item is based on the current federal charges only.



Theft                   Drug                    Firearms   Immigration    Violent          Other
Auto theft              Cocaine                 Firearms   Immigration    Assault          Absconded
Burglary                Crack                                             Homicide         Drunkenness
Counterfeiting          Heroin                                            Kidnapping       DUI
Embezzlement            Marijuana                                         Rape- force      DWI
Forgery                 Methamphetamine                                   Robbery          Escape
Fraud                   Opiate                                            Sex offense      Federal Statutes
Larceny/theft           Other Drug                                        Simple assault   FTA
Mail fraud                                                                                 Gambling
Mail theft                                                                                 General violation
Petty theft                                                                                Income tax
Racketeering                                                                               Liquor (tax)
Transportation of                                                                          Non-payment of financial
stolen property                                                                            penalties
                                                                                           Misdemeanor
                                                                                           Misprison of a felony
                                                                                           Miscellaneous
                                                                                           Other minor violation
                                                                                           offense
                                                                                         Perjury
                                                                                         Technical, violation of
                                                                                         supervision conditions
                                                                                         Traffic violation
                                                                                         Cyber crime (non-
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#1.5                   Domain:                        Criminal History


Item #1.5: Offense class                                                                         Rate and
                                                                                                  score

Purpose of Item: The class of offense was found to have a statistically significant relationship with
outcomes of interest during the pretrial services stage.




            Sample Questions                                         Interviewing Strategies
This information should be taken directly from official        N/A
records.




Scoring Rules/Issues:
1. Base this item on the current federal charges only.

2. If there is more than one pending federal charge consider the most serious when scoring this item.

3. Those defendant’s charged with a felony are assessed one (1) point. Those charged with a misdemeanor
   are assessed zero (0) points.




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#1.6                   Domain:                        Criminal History


Item #1.6:             Age at interview
                                                                                                   Rate and
                                                                                                    score


Purpose of Item: The relationship between age and criminal behavior is well documented. This item
assesses points based on the defendant’s age at the time of the interview or when the information to score the
assessment is collected.



            Sample Questions                                         Interviewing Strategies
This information should be taken directly from official        N/A
records.




Scoring Rules/Issues:
1. Calculate the defendant’s age on the date of interview or when the information to score this assessment is
   collected.

2. Calculate age in years. If the defendant is in between years begin rounding up at .5 years. So if a
   defendant is 22.50 years old he would be considered 23 years old and would be assigned two points for this
   item.

1. If the defendant is 26 or younger then two (2) points are assessed, one (1) point is assessed for defendants
   age 27 to 46, and zero (0) points are assessed for defendants 47 or older.




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                        Other
                       Domain

      Employment               Education
      Residence                Substance Abuse
      Citizenship




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#2.1                  Domain:                  Other-Education


Item #2.1: Highest Education                                                                           Rate and
                                                                                                        score


Purpose of Item: Overall academic achievement is related to pretrial outcomes.



           Sample Questions                                        Interviewing Strategies
Tell me about your education experiences.                    Establish overall academic achievement.
Tell me about any additional job training you’ve             Explore defendant’s motivation for terminating school
completed.                                                   when they did.
How far did you go in school?
What was the last grade you finished?
Tell me about the circumstances that contributed to
you not finishing school?




Scoring Rules/Issues:
1. If the defendant has completed less than a high-school degree assess two (2) points.

2. If the defendant has a GED assess two (2) points.

3. If the defendant has a GED plus a further degree, some college, or vocational training certificates assess
   one (1) point.

4. If the defendant has a high school degree, vocational training , or some college assess one (1) point.

5. If the defendant has a college degree do not assess any points.




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#2.2                  Domain:                 Other-Employment


Item #2.2: Employment Status                                                                           Rate and
                                                                                                        score

Purpose of Item: Employment is an important activity for a number of reasons. Not only does it
provide us with legitimate means to meet financial needs, it exposes us to prosocial others, provides us rewards
for engaging in prosocial behavior, and occupies free time in a prosocial and structured way.



            Sample Questions                                         Interviewing Strategies
Are you currently working?                                    Explore type of job and number of hours per week. If
                                                              not employed, check if defendant is a full time student.
If no: How do you support yourself while unemployed?
                                                              Seek information about the quality of the defendant’s
What was your reason for leaving your last job?
                                                              performance, ability to get along with others in frequent
If yes: Tell me where you are working.                        contact or in positions of authority.
How long have you worked there?
Tell me about the type of work you do.
Where did you work before that?




Scoring Rules/Issues:
1. Defendant is considered unemployed (score 1 point) if s/he is capable of working but is not working even if
   he or she is otherwise productively occupied.

2. Students and homemakers are not considered employed or unemployed but are still assessed one (1) point.

3. Defendants that are retired but are capable of employment are assessed one (1) point based on the amount
   of unstructured free time the defendant has in order to commit an offense.

4. Defendants that are completely disabled and receiving benefits are assessed zero (0) points.

5. Full time and part time (20 hours per week or more) are considered employed and are assessed zero (0)
   points.

6. Defendants that receive public assistance and are working are considered employed and are assessed zero
   (0) points.

7. Please circle the item on the scoring sheet.




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#2.3                 Domain:             Other-Residence


Item #2.3: Residence                                                                              Rate and
                                                                                                   score


Purpose of Item: Lack of ties to the area, as measured by residential attachment, might relate to risk
of FTA.




           Sample Questions                                        Interviewing Strategies
Where do you live now?                                      Determine if the defendant either owns or is purchasing
                                                            a home.
Do you own that home, condo, etc.?
                                                            This applies to current circumstances and not plans to
                                                            purchase or buy.




Scoring Rules/Issues:
1. If the defendant does not own his/her home and is not purchasing it then assess one (1) point.




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#2.4                  Domain:                Substance Abuse Problems


Item #2.4:            Current Substance Abuse Problems                                               Rate and
                                                                                                       score

Purpose of Item: Substance misuse facilitates or instigates criminal behavior. Drug use has been
shown to increase risk for pretrial failure.


           Sample Questions                                         Interviewing Strategies
Has your use caused disruptions at work, school, or           Be sure to keep conversation and questions current.
home?
                                                              For defendants that have been in detention assess
Have you ever been in treatment?
                                                                                 Treatment
Do you use in physically hazardous situations: driving
                                                                                 Triggers in community setting
a motor vehicle; operating machinery; caring for
children?                                                                        Ability to remain substance free
Do you have legal problems related to use?
Do you continue to use despite social/interpersonal
problems related to use?



Scoring Rules/Issues:
1. Score based on last 12 months. Consider the responses to items in sample questions.

2. If incarcerated less than 2 years evaluate for last 12 months in the community.

3. If incarcerated more than 2 years evaluate over past year in the institution but consider treatment and
   ability to deal with triggers and stressors. The defendant should be able to identify, in a concrete way,
   triggers and the skills they will use to cope with them.




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#2.5                 Domain:           Other – Citizenship


Item #2.5: Citizenship                                                                                   Rate and
                                                                                                          score


Purpose of Item: Being a legal or illegal alien might be associated with ties to a foreign country and
therefore an increase in FTA risk.


          Sample Questions                                              Interviewing Strategies
What is your citizenship status?                                Determine if the defendant is a U.S. Citizen, legal alien,
                                                                or illegal alien.




Scoring Rules/Issues:
1. If the defendant is a legal or illegal alien assess one (1) point.

2. If the defendant is a U.S. or Naturalized citizen assess zero (0) points.




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                       Missing
                       Items




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What to do if there are missing items?


Prorated Scoring: The PTRA score can be prorated based on the table below. Statistical
analysis indicated that the PTRA score was still predictive when 4 or fewer scored items were
missing. The prorated score is based on a calculation involving the data on scored/available
items. This process is more accurate as assuming missing items are 0 potentially
underestimates risk and assuming missing items potentially overestimates risk.

Officers should make every attempt to gather information on all items. If criminal history
information is not available this instrument cannot be scored.




                                            Number of Missing Items

              Raw Score          1                2               3             4
                       0         0                0               0             0
                       1         1                1               1             2
                       2         2                2               3             3
                       3         3                4               4             5
                       4         4                5               6             6
                       5         6                6               7             8
                       6         7                7               8            10
                       7         8                8              10           11+
                       8         9                10            11+           11+
                       9        10               11+            11+           11+
                      10        11+              11+            11+           11+



To use the above chart find the raw score that you obtained in the left most column. Read
along that row until you get to the column that indicates the number of items that are missing
from the assessment. The number in the cell where the row and column intersect is the
prorated score.

For example, an assessment with a raw score of 4 with 2 items missing would equal a prorated
score of 5.




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